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                                                              ORIGINAL
                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                FILED IN CLERK'S OFFICE
                          ATLANTA DIVISION                          L1

TIG INSURANCE COMPANY,
                                                                    SEP 2 5 2003
       Plaintiff,
                                                             LUTHER u . i ti-- mi5, Clerk
v .                                     CIVIL ACTION FILE                   DeputyUerk
                                        N0 . 1 03 CV 2096
UNIVERSAL WRESTLING CORP .,
INC . f/k/a WORLD CHAMPIONSHIP :
WRESTLING, INC ., TURNER
                                                            =HTW
SPORTS, INC ., TURNER
ENTERTAINMENT GROUP, INC .
SIDNEY R . EUDY, and JOHNNY
LAURINAITIS,

       Defendants .

                      ANSWER OF JOHNNY LAURINAITIS .

       COMES NOW Johnny Laurinaitis,       Defendant in the above-

styled action,      and files this Answer to the Complaint for

Declaratory Judgment,        showing this Honorable Court as

follows :

                        FIRST AFFIRMATIVE DEFENSE

       Plaintiff fails to state a claim on which relief can be

granted .

                       SECOND AFFIRMATIVE DEFENSE

       Jurisdiction and venue in this Court are improper,               and

this   case should therefore be dismissed .
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                         THIRD AFFIRMATIVE DEFENSE

     Concurrent with filing this Answer,             Defendant is

withdrawing without prejudice his request for coverage                    from

Plaintiff for the underlying lawsuit,            and there is     therefore

no actual or justiciable controversy before this Court and

this Complaint should therefore be dismissed .

                       FOURTH AFFIRMATIVE DEFENSE

     Responding particularly to Plaintiff's allegations

contained in the specific Paragraphs,            Defendant responds as

follows :

                                   PARTIES

                                      1.

         Defendant lacks information sufficient to either admit

or deny     the allegations contained in Paragraph 1 of

Plaintiff's Complaint and therefore must respectfully deny

same .

                                      2.

         Based on information and belief,        Defendant admits the

allegations contained in Paragraph 2 of Plaintiff's

Complaint,      except that Defendant denies that Universal

Wrestling Corporation's proper name            is "Universal Wrestling




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Corp .    Inc ."   and denies that its principal place of business

is in New York .

                                      3.

         Based on information and belief,         Defendant admits the

allegations contained in Paragraph 3 of Plaintiff's

Complaint,         except that Defendant denies that Turner Sports,

Inc .'s principal place of business is in New York .

                                      4 .

         Based on information and belief,         Defendant admits the

allegations contained in Paragraph 4 of Plaintiff's

Complaint,         except that Defendant denies      that Turner

Entertainment Group,         Inc .'s principal place of business          is

in New York .

                                      5.

         Based on information and belief,         Defendant admits that

Defendant Sidney R . Eudy         (hereinafter "Eudy")     entered into

contracts with World Championship Wrestling,              Inc .    Defendant

further admits that Defendant Eudy has filed a lawsuit

alleging liability against WCW and other defendants in the

Superior Court of Fulton County,             Georgia .   Defendant lacks

information sufficient to either admit or deny whether

Defendant Eudy is a resident of Arkansas or where the



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contract was entered into, and therefore must respectfully

deny same .      Defendant denies all other allegations contained

in Paragraph 5 of Plaintiff's Complaint not expressly

admitted herein .

                                      5.

     Defendant admits that he is a resident of Florida .

Defendant denies that he presently seeks coverage under a

TIG policy delivered in Georgia for the referenced lawsuit .

                          JURISDICTION AND VENUE

                                      7 .

         Defendant lacks information sufficient to either admit

or deny the allegations contained in Paragraph 7 of

Plaintiff's Complaint and therefore must               respectfully deny

same .     By way of    further explanation,        this Defendant lacks

information sufficient to admit or deny the citizenship of

certain of the other parties,           such that this Defendant

cannot state whether there is complete diversity or not .

                                      8.

         Defendant admits    that Defendant Eudy's underlying

lawsuit seeks damages exceeding $75,000,               but denies   that

Defendant Eudy is entitled to any of                the relief prayed for

in that     lawsuit .    Defendant denies that there is a

controversy between the parties,                as Defendant in his Answer

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has withdrawn without prejudice his request for coverage

from Plaintiff for the underlying lawsuit .             Defendant denies

all other allegations contained in Paragraph 8 of

Plaintiff's Complaint not specifically admitted herein .

                                      9.

        Defendant denies the allegations contained in paragraph

9 of Plaintiff's Complaint .         By way of further explanation,

Defendant in his Answer has withdrawn without prejudice his

request for coverage from Plaintiff for the underlying

lawsuit,    and there is therefore no actual or justiciable

controversy between the parties and therefore no

jurisdiction under 28        U .S .C . § 2201 .   Regarding 28   U .S .C .

1332,    Defendant lacks information sufficient to admit or

deny the citizenship of certain of the other parties,                 such

that    this Defendant cannot state whether there is complete

diversity or not .

                                     10 .

        Defendant denies the allegations contained in paragraph

10 of Plaintiff's Complaint .          By way of further explanation,

Defendant_ in his Answer has withdrawn without prejudice his

request for coverage from Plaintiff for the underlying

lawsuit,    and there is therefore no actual or justiciable

controversy between the parties and no proper venue before

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this Court .     Further,    Defendant lacks information regarding

the citizenship of certain of the other Defendants

sufficient to admit or deny the other facts relevant to the

determination of venue .

                                     11 .

      Defendant admits the allegations contained in Paragraph

11 of Plaintiff's Complaint,         except that Defendant does not

have sufficient      information to admit or deny whether

Defendant Eudy is subject to the personal            jurisdiction of

this Court and must therefore deny same .            Defendant denies

all other allegations contained in Paragraph 11 of

Plaintiff's Complaint not expressly admitted herein .

                                     12 .

      Defendant denies the allegations contained in Paragraph

12 of    Plaintiff's Complaint .

                  RELATIONSHIP BETWEEN EDDY AND WCW

                                     13 .

      Based on information and belief,          Defendant admits that

Eudy provided wrestling services            for WCW pursuant to a

written contract with WCW,         a true and complete copy of which

is   attached to the Complaint as Exhibit "A ."            Defendant

denies the Complaint's description of that Agreement as the

"Employment Agreement ."        The Agreement is expressly termed

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the "Independent Contractor Agreement ."                Defendant denies

all other allegations contained in Paragraph 13 of

Plaintiff's Complaint not expressly admitted herein .

                                 14 .

    The terms of the Independent Contractor Agreement

between Eudy and WCW speak for themselves as to content and

legal effect,   and Defendant denies all allegations contained

in Paragraph 14 of Plaintiff's Complaint that are

inconsistent with the provisions of                that Agreement .

                                  15 .

     In answer to Paragraph 15 of the Plaintiff's Complaint,

based on information and belief,                this Defendant admits that

WCW's relationship with Eudy was governed by the terms of

the Independent Contractor Agreement and that his wrestling

activities were conducted pursuant to scripts and that these

scripts and the Independent Contractor Agreement speak for

themselves as to content and legal effect .                Defendant denies

all allegations contained is Paragraph 15 of Plaintiff's

Complaint that are inconsistent with the provisions of the

Independent Contractor Agreement or the scripts .

                                     16 .

     The terms of the Independent Contractor Agreement

between Eudy and WCW speak for themselves as to content and

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legal effect,    and Defendant denies all allegations contained

in Paragraph 16 of Plaintiff's Complaint that are

inconsistent with the provisions of that Agreement .

                                    17 .

      The terms of the Independent Contractor Agreement

between Eudy and WCW speak for themselves as to content and

legal effect,     and Defendant denies all allegations contained

in Paragraph 17 of Plaintiff's Complaint that are

inconsistent with the provisions of that Agreement .

                                    18 .

      Defendant denies the allegations contained in Paragraph

18   of Plaintiff's Complaint .

                          UNDERLYING LAWSUIT

                                    19 .

      Regarding the first sentence contained in Paragraph 19

of   Plaintiff's Complaint,      Defendant admits only that

Defendant Eudy suffered a leg injury on January 14,                 2001 .

Regarding the allegation that said injury occurred while

Defendant Eudy was performing a maneuver scripted by WCW,

Defendant states that the script is a written document which

speaks for itself as to content and legal effect,              and

Defendant denies      this allegation to the extent it         is

inconsistent with or contrary to that script .             Regarding the

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second   sentence contained in Paraaraoh 19 of Plaintiff's

Complaint,    based upon information and belief,          Defendant

believes that Eudy received workers'            compensation benefits

from TIG,    but Defendant denies the remaining allegations

contained in the second sentence as            stated .   Defendant

denies all other allegations contained in Paragraph 19 of

Plaintiff's Complaint not expressly admitted herein .

                                    20 .

      Defendant admits the allegations contained in Paragraph

20 of Plaintiff's Complaint .

                                    21 .

      Defendant denies the allegations contained in Paragraph

21   of Plaintiff's Complaint .

                                    22 .

      On information and belief,           Defendant admits that Eudy

filed an amended complaint in the underlying lawsuit .

Defendant denies that the amended complaint was not tendered

to TIG for coverage and denies all other allegations

contained in Paragraph 22 of Plaintiff's Complaint not

expressly admitted herein .

                                    23 .

      Defendant admits the allegations contained in Paragraph

23 of Plaintiff's Complaint .

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                                    24 .

       Defendant admits     the allegations contained in Paragraph

24 of Plaintiff's Complaint .

                       TIG'S COVERAGE DECISIONS

                                    25 .

       Upon information and belief,             Defendant admits that WCW

tendered the initial complaint to TIG for coverage, pursuant

to its commercial general        liability policy,        one of which

provided coverage      for the policy period April 1,          2000 to

April 1,    2001,   bearing policy no . 70003796979902 .         Defendant

lacks sufficient information to either admit or deny whether

a true and complete copy of the CGL policy is attached to

the Complaint as Exhibit "D"         and therefore must respectfully

deny   same .   Defendant denies all other allegations contained

in Paragraph 25 of Plaintiff's Complaint not expressly

admitted herein .

                                    7_6 .

       Upon information and belief,             Defendant admits that

other Defendants received a copy of the letter attached to

Plaintiff's Complaint as Exhibit "E ."               Defendant lacks

information to either admit or deny the remaining

allegations contained in        Paragraph 26 of Plaintiff's

Complaint and therefore must respectfully deny same .

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                                                                        _


letter attached to Plaintiff's Complaint as Exhibit "E" are

written documents which speak for themselves as to content

and legal effect,                and Defendant specifically denies all

allegations contained in Paragraph 26 of Plaintiff's

Complaint that are inconsistent with the provisions of those

documents .

                                                 27 .

            Defendant admits that he tendered the Second Amended

Complaint to Plaintiff for coverage .                      Defendant further

admits that his representatives received a copy of the

reservation of rights letter attached to Plaintiff's

Complaint as Exhibit "F ."                  Defendant lacks information

sufficient                 to either admit or deny the remaining allegations

contained in Paragraph 27 of Plaintiff's Complaint and

therefore must respectfully deny same .                      Defendant further

states that                 the letter attached to Plaintiff's Complaint as

Exhibit "F"                 is a written document which speaks       for itself as

to content and legal effect,                      and Defendant specifically

denies all allegations contained in Paragraph 27 of

Plaintiff's Complaint that are inconsistent with                       the

provisions of that document .



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                  PERTINENT    POLICY    PROVISIONS


                                 28 .

    The subject policy speaks       for itself    as to content and

legal effect,   and Defendant denies all allegations contained

in Paragraph 28 of Plaintiff's Complaint that are

inconsistent with the provisions of that policy .

                                 29 .

    The subject policy speaks       for itself as to content and

legal effect,   and Defendant denies all allegations contained

in Paragraph 29 of Plaintiff's Complaint that are

inconsistent with the provisions of that policy .

                                 30 .

    The subject policy speaks       for itself as to content and

legal effect,   and Defendant denies all allegations contained

in Paragraph 30 of Plaintiff's Complaint that are

inconsistent with the provisions of that policy .

                                 31 .

    The subject policy speaks for itself as to content and

legal effect,   and Defendant denies all allegations contained

in Paragraph 31 of Plaintiff's Complaint that are

inconsistent with the provisions of that policy .




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    The subject policy speaks       for itself as    to content and

legal effect,   and Defendant denies all allegations contained

in Paragraph 32 of Plaintiff's Complaint that are

inconsistent with the provisions of that policy .

                                 33 .

    The subject policy speaks       for itself as to content and

legal effect,   and Defendant denies all allegations contained

in Paragraph 33 of Plaintiff's Complaint that are

inconsistent with the provisions of that policy .

                                 34 .

    The subject policy speaks       for itself as to content and

legal effect,   and Defendant denies all allegations contained

in Paragraph 34   of Plaintiff's Complaint that are

inconsistent with the provisions of that policy .

                                 35 .

    The subject policy speaks       for itself as to content and

legal effect,   and Defendant denies all allegations contained

in Paragraph 35 of Plaintiff's Complaint that are

inconsistent with the provisions of that policy .




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      The subject policy speaks       for itself as to content and

legal effect,    and Defendant denies all allegations contained

in   Paragraph 36 of Plaintiff's Complaint that are

inconsistent with the provisions of that policy .

                             RELIEF SOUGHT

                                   37 .

      Plaintiff's Complaint speaks for itself in terms of the

declaration Plaintiff seeks in this lawsuit .            Defendant

denies all allegations contained in Paragraph 37 of

Plaintiff's Complaint not expressly admitted herein .

                                   38 .

      To the extent a response to this "Wherefore" paragraph

is required,    Defendant denies all allegations contained in

Paragraph 38 of Plaintiff's Complaint .

                       FIFTH AFFIRMATIVE DEFENSE


      Defendant denies all other allegations contained in

Plaintiff's Complaint not expressly admitted or addressed

above .   Defendant denies that Plaintiff is entitled to any

of the relief prayed for in the Complaint or to any other or

further relief from the Court .




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                  t                                   c
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    WHEREFORE,    Defendant    reouests       that   it be   discharged

from this   case with judgment granted in its favor and with

all costs cast upon Plaintiff,         and that it have such other

and further relief as     allowed by law .

    This 24t'' day of September,        2003 .

                                 Respectfully submitted,

                                 SWIFT, CURRIE, McGHEE & HIERS, LLP


                                  ~~ T14~
                                 Mark T . Dietrichs
                                 Geo  is Bar No .   221722

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                                       D.
                                  T omas         Martin
                                  Georgia Bar No .           475535

                                  (?A,4 0--      PegP,4n~
                                  Brian M . Le pson
                                  Georgia Bar No .           944758

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                               CERTIFICATE OF SERVICE

         I   hereby certify that     I   have this day served a copy of            the

within and foregoing Answer of Johnny Laurinaitis upon on all

parties to this matter by depositing a true copy of same in the

U .S .   Mail,   proper postage prepaid,       addressed to counsel of record

as   follows :

                      Philip W . Savrin, Esq .
                      W . Mark Weaver, Esq .
                      Suite 1600
                      100 Galleria Parkway
                      Atlanta, GA
                      Attorneys for TIG Insurance Company

                      Mr . Sidney R . Eudy
                      c/o His Counsel
                      Stephen G . Weizenecker, Esq .
                      Ms . Kim Knight Perez
                      Ms . Roxana Dehnad
                      Weizenecker, Rose, Mottern & Fisher, PC
                      1800 Peachtree Street, N .W ., Suite 620
                      Atlanta, GA     30309

         This    24'" day of   September,   2003 .

                                         Respectfully submitted,

                                          SWIFT,     CURRIE,   McG~EE &   HIERS,    LLP


                                                                -------------
                                          Mark T . Dietric s
                                          Georgia Bar No . 221722

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